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 1                                                                       Honorable Thomas S. Zilly
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 7                              UNITED STATES DISTRICT COURT
 8
                             WESTERN DISTRICT OF WASHINGTON
 9
                                             AT SEATTLE
10
   STRIKE 3 HOLDINGS, LLC, a Delaware                Case Number: 2:17-cv-01731-TSZ
11 corporation,

12                         Plaintiff,                STIPULATED MOTION AND
                                                     [PROPOSED] ORDER TO EXTEND
13 vs.                                               CERTAIN CASE MANAGEMENT
                                                     DEADLINES
14 JOHN DOE subscriber assigned IP address
   73.225.38.130,                                       Noted for Consideration:
15                                                      Monday, March 18, 2019
                     Defendant.
16

17

18          Plaintiff, Strike 3 Holdings, LLC (“S3H”) and Defendant, JOHN DOE subscriber

19 assigned IP address 73.225.38.130 (“DOE”) (jointly referred to as the “Parties”), by and

20 through their counsel, jointly move to extend case deadlines. In support of their motion, the

21 Parties assert the following:

22          1.     A scheduling order “may be modified only for good cause and with the judge’s

23 consent.” Fed. R. Civ. P. 16(b)(4). “Rule 16(b)’s ‘good cause’ standard primarily considers the

24 diligence of the party seeking the amendment.” In re Washington Mut. Mortg. Backed Sec.

25 Litig., No. C09-37MJP, 2011 WL 13193267, at *1 (W.D. Wash. Dec. 27, 2011), quoting

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 1 Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). The Parties believe

 2 good cause exists to extend several case-related deadlines.

 3          2.      On December 20, 2018, this Court entered a scheduling order listing the case

 4 management deadlines in this case. Since December 2018, the Parties have been propounding

 5 and responding to discovery, coordinating deposition dates for a number of individuals located

 6 out-of-state and out of the country, producing documents, and conferring on a number of

 7 discovery disputes. However, the Parties require additional time to produce expert reports,

 8 conduct depositions, resolve a number of discovery disputes, and otherwise complete discovery.

 9          3.      Additionally, on January 15, 2019, S3H served DOE with its First Set of

10 Requests for Production, Interrogatories, and Requests for Admissions. Significantly, S3H has

11 requested production of DOE’s computer hard drives used in his residence during the period of

12 alleged infringement. On February 11, 2019, at DOE’s request, S3H provided DOE with a two-

13 week extension to respond to this discovery. S3H provided DOE with another two-week

14 extension to serve his responses on February 21, 2019 after DOE suffered a death in his family.

15 DOE also hired new counsel during the interim. As a result, DOE’s responses are not due until

16 March 18, 2019. Counsel for Doe has indicated that the deposition of Doe cannot take place

17 until at least the second half of April 2019 and S3H’s expert will need to review the transcript of

18 that deposition.

19          4.      S3H’s computer forensics expert will not have the opportunity to review DOE’s

20 production prior to March 18th. As a result, S3H cannot provide an expert report regarding

21 DOE’s production by today’s expert disclosure deadline. Nor is DOE able to depose S3H’s

22 expert until after production of the report. Moreover, the Parties are still negotiating a protocol

23 to address the scope of S3H’s inspection of DOE’s hard drives. DOE requires that a protocol be

24 in place before S3H’s may obtain discovery regarding DOE’s hard drives.

25          5.      Similarly, S3H has not produced the underlying software that IPP allegedly used

26 to detect the infringement that is the subject of S3H’s accusations against DOE. DOE’s expert
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1 cannot provide a report regarding the software until it has been produced. DOE anticipates

2 motion practice on this issue as well as related discovery disputes.

3           6.      The Parties also request that the Court impose a deadline for rebuttal expert

4 reports of April 30, 2019.

5           7.      The Parties do not seek to move the trial date, or the trial-related deadlines.

6           8.       The Parties propose the following case management deadlines:
                                                  Current Deadline   Proposed New Deadline
7     Disclosure of Expert Testimony              March 15, 2019     April 15, 2019
8     Disclosure      of   Rebuttal     Expert N/A                   April 30, 2019
      Testimony, if any
9     Discovery Motions Filing Deadline           April 18, 2019     May 20, 2019
      Discovery Completion Deadline               May 20, 2019       June 19, 2019
10    Mediation/Settlement         Conference June 14, 2019          July 15, 2019
11    Deadline
      Dispositive Motions Filing Deadline         June 20, 2019      July 22, 2019
12    Deadline for Filing motions related to June 27, 2019           July 29, 2019
      expert testimony (e.g., Daubert
13    Motions)
      Motions in Limine filing Deadline           August 22, 2019    August 22, 2019 (same)
14
      Agreed pretrial order due                   September 13, 2019 September 13, 2019 (same)
15    Trial briefs due                            September 13, 2019 September 13, 2019 (same)
      Proposed voir dire questions and jury September 13, 2019 September 13, 2019 (same)
16    instructions OR proposed findings of
      fact and conclusions of law due
17    Pretrial conference                         September 20, 2019 September 20, 2019 at 11 am
18                                                at 11 am           (same)
      Jury/Bench Trial Date (2-3 days)            September 30, 2019 September 30, 2019 (same)
19

20
            9.      This request is made in good faith and not made for the purpose of undue delay.
21
            10.     No previous requests to extend any of the deadlines in this case have been made
22
     by either party.
23
            IT IS SO STIPULATED.
24
            DATED this 16th day of March, 2019
25

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 1                                             FOX ROTHSCHILD LLP

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17                                             Attorneys for John Doe
18

19                                            ORDER
20         Based on the foregoing Stipulation, the Court ORDERS that the case deadlines shall be
21 created and/or adjusted as stated above.

22         DATED this         day of             , 2019.
23

24

25                                             THOMAS S. ZILLY
                                               UNITED STATES DISTRICT JUDGE
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1                                 CERTIFICATE OF SERVICE
2
         I hereby certify that on March 16, 2019, I electronically filed the foregoing document was
3 served via CM/ECF the following:

4
                                                FOX ROTHSCHILD LLP
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11

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